       Case 8:22-cv-02597-DKC           Document 42        Filed 05/03/23      Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                Plaintiffs,

          v.                                                      No. 22-cv-2597-DKC

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                    Defendants.
  __________________________________________

  NORTHERN VIRGINIA CITIZENS’
  ASSOCIATION,

                         Plaintiff,

          v.                                                      No. 22-cv-3336-DKC

  FEDERAL HIGHWAY
  ADMINISTRATION, et al.,

                         Defendants.


                  NOTICE OF LODGING ADMINISTRATIVE RECORD

       In accordance with the parties’ joint status report submitted March 30, 2023 (ECF No. 40),

and this Court’s Order approving the parties’ proposed revised schedule for production of the

administrative record and revised briefing schedule (ECF No. 41), Federal Defendants give notice

of lodging the administrative record. The index for the administrative record is attached as Exhibit

1. A declaration certifying the contents of the administrative record is attached as Exhibit 2. A

complete copy of the administrative record has been separately sent to Plaintiffs’ counsel.
      Case 8:22-cv-02597-DKC   Document 42     Filed 05/03/23   Page 2 of 3



Dated: May 3, 2023

                                   Respectfully submitted,

                                   TODD KIM
                                   Assistant Attorney General

                                   By: /s/ Samuel R. Vice
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                                      2
       Case 8:22-cv-02597-DKC          Document 42       Filed 05/03/23      Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of May 2023 a copy of the foregoing Notice of Lodging

of the Administrative Record has been electronically filed with the Clerk of Court and served on

all registered parties via CM/ECF.

                                                            By: /s/ Frances B. Morris
                                                            FRANCES B. MORRIS




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